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 1 Minas Samuelian, Esq. (State Bar No. 242804)
   Andrew Mallett, Esq. (State Bar No. 283345)
 2 MANNING & KASS
     ELLROD, RAMIREZ, TRESTER LLP
                       th
 3 801 S. Figueroa St, 15 Floor
   Los Angeles, California 90017-3012
 4 Telephone: (213) 624-6900
   Facsimile: (213) 624-6999
 5 mxs@manningllp.com; azm@manningllp.com
 6 Attorneys for Defendants
   COUNTY OF LOS ANGELES; SHERIFF LEE
 7 BACA; INTERIM SHERIFF JOHN SCOTT;
   DR. MARVIN SOUTHARD; DR. STEPHEN
 8 SHEA and DR. PHUONG TRUONG
 9                                      UNITED STATES DISTRICT COURT
10             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
11
12 MARIA LOBERG AND ERICA                                          Case No. 2:16-cv-06190 RAO
   LOBERG, INDIVIDUALLY AND AS                                     [Magistrate Judge Rozella A. Oliver, for
13 SUCCESSORS IN INTEREST TO                                       all proceedings]
   THE ESTATE OF ERIC LOBERG,
14
             Plaintiffs,
15                                                                 NOTICE OF SETTLEMENT AND
   COUNTY OF LOS ANGELES,                                          JOINT STIPULATION
16 SHERIFF LEE BACA, INTERIM
   SHERIFF JOHN SCOTT, DR.                                         [Filed Concurrently with Proposed
17 MARVIN SOUTHARD, DR.                                            Order]
   STEPHEN SHEA, DR. PHUONG
18 TRUONG, AND DOES 1-10,
   INCLUSIVE,
19                                                                 Complaint filed: 8/17/16
             Defendants.
20
21             IT IS HEREBY STIPULATED, by and between plaintiffs MARIA LOBERG
22 AND ERICA LOBERG, INDIVIDUALLY AND AS SUCCESSORS IN
23 INTEREST TO THE ESTATE OF ERIC LOBERG, (hereinafter “Plaintiffs”), by
24 and through their attorneys, and defendants, COUNTY OF LOS ANGELES,
25 SHERIFF LEE BACA, INTERIM SHERIFF JOHN SCOTT, DR. MARVIN
26 SOUTHARD, DR. STEPHEN SHEA, and DR. PHUONG TRUONG (hereinafter
27 “Defendants”), by and through their respective attorneys of record as follows:
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 1             1.         The parties have reached a tentative settlement agreement. In order to
 2 settle this matter, it is necessary for the tentative settlement agreement to be
 3 presented to and approved by the Defendant COUNTY OF LOS ANGELES’ Board
 4 of Supervisors. It is expected that this process will require several months.
 5             2.         The parties request additional time to pursue the settlement of this
 6 matter. Specifically, the parties request that the Court enter the proposed order filed
 7 concurrently herewith. This order would give the parties 120 days within which to
 8 either file a dismissal of the entire action or file a status report regarding the
 9 progress of their settlement efforts. The order would also vacate all dates and take
10 all pending matters off calendar. Good cause exists to enter this order because it
11 will facilitate settlement, because no party would be prejudiced, and because the
12 parties agree. Fed.R.Civ.P. 16(b)(4) (the Court may modify a schedule for good
13 cause); see also L.R. 16-15 (“It is the policy of the Court to encourage disposition of
14 civil litigation by settlement when such is in the best interest of the parties. The
15 Court favors any reasonable means to accomplish this goal. Nothing in this rule
16 shall be construed to the contrary.”).
17
18 DATED: February 6, 2017                                     MANNING & KASS
                                                               ELLROD, RAMIREZ, TRESTER LLP
19
20
                                                               By:         /s/ Minas Samuelian
21
                                                                     Minas Samuelian, Esq.
22                                                                   Andrew Mallett, Esq.
                                                                     Attorneys for Defendants
23
                                                                     COUNTY OF LOS ANGELES; SHERIFF
24                                                                   LEE BACA; INTERIM SHERIFF JOHN
25                                                                   SCOTT; DR. MARVIN SOUTHARD;
                                                                     DR. STEPHEN SHEA and DR. PHUONG
26                                                                   TRUONG
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 1 DATED: February 6, 2017                                     KAYE, MCLANE, BEDNARSKI
                                                               & LITT, LLP
 2
 3
                                                               By:        /s/ Ronald O. Kaye
 4                                                                   Ronald O. Kaye, Esq.
                                                                     Lindsay Battles, Esq.
 5                                                                   Attorneys for Plaintiffs,
                                                                     MARIA LOBERG AND ERICA
 6                                                                   LOBERG, INDIVIDUALLY AND AS
                                                                     SUCCESSORS IN INTEREST TO THE
 7                                                                   ESTATE OF ERIC LOBERG
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